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 8                                  UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                        SAN FRANCISCO DIVISION
11

12
     UNITED STATES OF AMERICA                    )    CASE NO. 18-CR-00240 CRB
13                                               )
                       Plaintiff,                )
14
            v.                                   )    DEFENDANT’S SENTENCING
15                                               )    MEMORANDUM AND MOTION
     BERNARDO LEYVA OLIVAS,                      )    FOR DOWNWARD VARIANCE
16                                               )
17                Defendant.                     )
                                                 )
18                                               )
                                                 )
19

20                                               I.
21
                                           INTRODUCTION
22
            Mr. Olivas respectfully asks the Court to impose a sentence of 30
23
     months of imprisonment, following which Mr. Olivas will be removed from the
24

25   United States and returned to his native Mexico. Mr. Olivas, a destitute sixty-

26
     three-year-old man who did not commit his first drug trafficking offense until
27

28
     DEFENDANT’S SENTENCING MEMORANDUM
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 1   he was 62, poses no threat to the public and will essentially be warehoused in
 2
     federal prison from his sentencing until he is released.
 3
            The offense in this case is as old as the drug trade: a sophisticated drug
 4

 5   trafficker utilized a poor, uninformed, desperate patsy to act as a mule and

 6   assume all the risk for transporting the trafficker’s narcotics, in exchange for a
 7
     pittance. Typically, Mr. Olivas was a highly desirable tool for the trafficker to
 8
     use because he knew almost nothing about the underlying drug distribution
 9

10   organization and would therefore be unable to cooperate with law enforcement

11   in the event he was arrested. In sum, Mr. Olivas unwittingly fulfilled exactly
12
     the role for which he was hired.
13
            Mr. Olivas made a serious mistake and committed a serious crime.
14

15   However, his age and his impending separation from his family when he is

16   deported mean Mr. Olivas’s incarceration will cause him more serious harm
17
     than the typical offender. Moreover, his lack of prior serious criminality and
18
     the fact he committed his crime while under acute financial duress indicate his
19

20   crime was aberrant and he will not likely re-offend. Finally, his co-defendant

21   and stepson, Carlos Luna Rodriguez, was recently sentenced to 15 months
22
     imprisonment on the same crime.
23
            All of these factors militate in favor of a sentence well below the
24

25   applicable Guidelines range. Probation recommends a variance to 87 months

26
     imprisonment. See PSR, Sentencing Recommendation. Mr. Olivas asserts a
27

28
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 1   sentence of 30 months imprisonment would be adequate to achieve the goals
 2
     of 18 U.S.C. section 3553 and the Sentencing Commission.
 3
                                               II.
 4

 5                              GUIDELINES CALCULATIONS

 6          Mr. Olivas agrees with the base offense level and criminal history
 7
     calculations set out in the Presentence Report (“PSR”). See PSR at ¶¶ 21-3.
 8
     The PSR calculates Mr. Olivas’s final offense level is 33 and his criminal
 9

10   history category is I. This results in a Guidelines rage of 135 to 168 months

11   imprisonment, in Zone D of the sentencing table. See PSR at ¶ 64.
12
            Mr. Olivas disagrees with the PSR offense level calculations in regard to
13
     a potential adjustment for his role in the offense. Probation recommends that
14

15   Mr. Olivas not receive an offense level adjustment for minor role. See PSR at ¶

16   17. As argued below, Mr. Olivas asserts he is plainly far less culpable than the
17
     other members of the drug trafficking organization that employed him and Mr.
18
     Rodriguez and that the Court should therefore apply a minor role adjustment.
19

20          If a four-point reduction pursuant to Guidelines § 3B1.2(a), Mr. Olivas’s

21   final offense level would be 29, for a range of 87-108 months imprisonment.
22
                                                     II.
23
                                         THE OFFENSE CONDUCT
24
            The Presentence Report accurately reflects the plea agreement and Mr.
25

26   Olivas offense conduct. See PSR ¶¶ 4-16. However, concerning Mr. Olivas’s
27
     role in the offense, the PSR fails to explain in full the nature of Mr. Olivas’s
28
     DEFENDANT’S SENTENCING MEMORANDUM
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 1   communications with the supplier of the drugs Mr. Olivas agreed to drive to
 2
     Washington. See PSR ¶ 14. Mr. Oliva met the supplier in a bar in the Fontana
 3
     area and had no prior relationship with him. When the supplier proposed to
 4

 5   pay Mr. Oliva $10,000 to drive the drugs to Washington, Mr. Oliva had no idea

 6   where the drugs would come from or even the suppliers true name. Mr. Oliva
 7
     similarly had no idea of the true identity of the person in Washington to whom
 8
     he would deliver the drugs, or the location where he would complete the
 9

10   delivery; he was merely provided the number of a “burner” cell phone to call

11   when he got to Washington. See Plea Agreement ¶ 2.
12
            Mr. Olivas knowledge of the membership, scope and methods of the drug
13
     trafficking organization that hire is exceedingly limited. In fact, to this day he
14

15   knows almost nothing about the organization. However, given that the

16   organization was apparently the target of a federal wiretap investigation and
17
     operated in Mexico, California and Washington, the Court may safely assume
18
     the organization is extensive.
19

20                                           III.

21
                       MR. LEYVA’S HISTORY AND CHARACTERISTICS
22

23
            Mr. Leyva agrees that the PSR’s rendition of his personal, educational
24
     and work history is accurate. See PSR at ¶¶ 46-59. One additional aspect of
25

26   Mr. Olivas’s history that bears on the Court’s sentencing decision in this case

27
     is that while Mr. Olivas has always maintained employment, often at several
28
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 1   jobs at the same time, he has typically been employed on a contract basis with
 2
     no benefits and at a low pay rate. Thus, while it is accurate that he had been
 3
     employed for some time by two trucking companies (see PSR ¶ 59), the work
 4

 5   was sporadic and he did not realize much income from those jobs.

 6                                               IV.
 7
                                  ARGUMENT AND AUTHORITIES
 8
     A.     The Court Should Substantially Depart from the Mandatory
 9          Minimum Sentence.
10
            As the plea agreement and the Presentence Report note, Mr. Olivas is
11
     eligible for the “safety valve” departure below the applicable mandatory
12

13   minimum sentence. See 18 U.S.C. § 3553(f); see also PSR ¶ 23.

14
     B.     The Court Should Apply a Four-Point Minimal Role Reduction to Mr.
15
            Olivas’s Offense Level.
16
            A conspiracy defendant is eligible for a minor role reduction where he is
17
     “substantially less culpable than the average participant” in the charged
18

19   conspiracy. See U.S.S.G. § 3B1.2 n.3(A).
20
            The remaining question is how much of a reduction should he receive –
21
     2, 3, or 4 levels.    The Guidelines provide a straightforward answer.     If the
22

23
     defendant is “plainly among the least culpable of those involved in the conduct

24   of a group,” he should receive a 4-level minimal participant reduction
25
     pursuant to U.S.S.G. § 3B1.2(a). See U.S.S.G. § 3B1.2 n.4.
26
            The Guidelines enumerate several factors that should be addressed
27

28
     when deciding the degree of a minor role reduction:
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 1          1. “The degree to which the defendant understood the scope and
 2
                structure of the criminal activity”;
 3
            2. “The degree to which the defendant participated in planning or
 4

 5              organizing the criminal activity”;

 6          3. “The degree to which the defendant exercised decision-making
 7
                authority or influenced the exercise of decision-making authority”;
 8
            4. “The nature and extent of the defendant’s participation in the
 9

10              commission of the criminal activity, including the acts the defendant

11              performed and the responsibility and discretion the defendant had in
12
                performing those acts”; and
13
            5. “The degree to which the defendant stood to benefit from the
14

15              criminal activity.”

16          U.S.S.G. §§ 3B1.2 n.3(C)(i)-(v). The courts retain discretion to consider
17
     any other factors it deems relevant.
18
            On November 1, 2015, the United States Sentencing Commission passed
19

20   Amendment 794. The Commission did so because, after conducting an

21   independent review, it found that minor role reductions were being “applied
22
     inconsistently and more sparingly than the Commission intended.” U.S.S.G.
23
     App. C. Amend. 794. Specifically, “[i]n drug cases, the Commission's study
24

25   confirmed that mitigating role is applied inconsistently to drug defendants who

26
     performed similar low-level functions.” Id.
27
            The Ninth Circuit has explained the reason for the amendment:
28
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 1
            Before the Commission passed the Amendment, different
 2
            circuits had different methods of assessing whether a
 3          defendant was "substantially less culpable than the average
            participant." In this circuit and in the Seventh Circuit,
 4
            however, the relevant comparison was between the
 5          defendant and other actual participants in the crime. The
            Amendment generally adopted the approach of this Court
 6          and the Seventh Circuit, stating that when a district court
 7
            conducts an assessment of whether a defendant should
            receive a role reduction, “the defendant is to be compared
 8          with the other participants” in the crime, not with a
            hypothetical average participant.
 9

10   United States v. Quintero-Leyva, 823 F.3d 519, 522-23 (9th Cir. 2016) (citations

11   omitted). Expanding on the above factors set out in the new version of section
12
     3B1.2 n.3(C), the Quintero-Leyva court held that the new version of Guidelines
13
     section 3B1.2 provided that a “’defendant who does not have a proprietary
14

15   interest in the criminal activity and who is simply being paid to perform certain

16   tasks should be considered” for the reduction, and ‘the fact that a defendant
17
     performs an essential or indispensable role in the criminal activity is not
18
     determinative'’ of whether a minor-role adjustment should be granted. Id. at
19

20   523.

21          Following Quintero-Leyva, the Ninth Circuit recently reiterated that the
22
     Court “recognize[s] the Sentencing Commission's statement that minor-role
23
     adjustments were being applied more sparingly than the Commission intended
24

25   and its admonition that, in Amendment 794, the Commission did more than

26
     merely adopt the Ninth Circuit's side of the previous circuit split concerning
27
     consideration of hypothetical average participants.” United States v. Diaz, 884
28
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 1   F.3d 911, 916 (9th Cir. 2018). 1 The court went on to find that “[t]o the extent
 2
     the district court's reasoning reflects reliance on courier conduct as dispositive
 3
     of [the defendant’s] eligibility for a minor-role reduction, it was error.
 4

 5   Amendment 794 clarified that the performance of an essential role - here, the

 6   role of smuggling drugs across the border - is not dispositive.” Id. at 917.
 7
            The Diaz court described the facts of that case as follows:
 8
            Alejandro Aguilar Diaz, a 28-year-old legal resident of Tijuana,
 9
            Mexico, was arrested on August 27, 2015, when crossing into the
10          United States and charged with the importation of 10.68 kilograms
            of cocaine and 3.6 kilograms of heroin. On October 22, 2015,
11          Aguilar Diaz agreed to plead guilty to two counts of drug
12
            importation in exchange for a favorable sentencing
            recommendation from the government.
13
            After his arrest, Aguilar Diaz told authorities that he had agreed to
14
            transport drugs which he believed to be marijuana, to an unknown
15          location in the United States. He explained that he was at a party
            with a friend, Hector Rodriguez, when they were approached by an
16          individual named Peter and asked if they would be willing to
17          smuggle drugs across the border because they both had border-
            crossing cards. They agreed, and Aguilar Diaz accompanied
18          Rodriguez on two crossings. The first was a practice run; Aguilar
            Diaz and Rodriguez drove separate cars and neither car carried
19
            drugs. The purpose of the first trip was for Aguilar Diaz to show
20          Rodriguez how to cross the border in a vehicle. Only Rodriguez
            attempted to smuggle drugs into the United States on the second
21          crossing but, because Rodriguez was nervous, Aguilar Diaz agreed
22          to go along in a separate car in exchange for $200. Rodriguez was
            arrested on the second crossing. When Aguilar Diaz reported
23          Rodriguez's arrest to Peter, Peter told him that he owed a debt for
            the confiscated drugs and that he would be paid only $1,000 for
24
            making an additional smuggling trip, instead of the $2,000
25          originally promised. Aguilar Diaz then allowed Peter to hide drugs
            in his car, tried to cross the border a third time, and he, too, was
26
            arrested. Eventually, Aguilar Diaz pleaded guilty to two counts of
27
     1
      Given the Ninth Circuit’s holdings following the amendment 794, much of the
28   contrary pre-amendment caselaw may be discarded.
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 1          drug importation in exchange for the government's favorable
            sentencing recommendation. The pre-sentence report
 2
            acknowledged that Aguilar Diaz cooperated after his arrest and
 3          during the subsequent investigation, and did not challenge his
            statement that he had only been involved in two prior crossings. It
 4
            was undisputed that Aguilar Diaz has no prior criminal history.
 5
     Id. at 913.
 6

 7
            Importantly for Mfr. Olivas’s case, the Diaz court addressed whether the

 8   District Court erred when it refused Diaz a minor-role adjustment because Diaz
 9
     could not present any evidence concerning the other likely participants in the
10
     drug smuggling scheme. The Ninth Circuit rejected the District Court’s finding
11

12
     that the absence of evidence concerning other participants doomed Diaz’s

13   minor-role argument. The court noted, “the Amendment recognizes that a true
14
     minor-role participant need not be privy to every detail about the roles played
15
     by others in the scheme. This is evident from one of the factors added by
16

17   Amendment 794: ‘the degree to which the defendant understood the scope and

18   structure of the criminal activity.’ The Amendment recognizes the likelihood
19
     that a true minor participant may be unable to identify other participants with
20
     specificity.” Id. at 917.
21

22          The Court therefore must decide whether Mr. Olivas played a minor role

23   in relation to the people who participated in the same scheme, regardless of
24
     whether Mr. Oliva can identify those people. Given that there was a wiretap in
25
     this case, it seems apparent that there are numerous “higher up” individuals
26

27   who were the target of the wiretap. The wiretap affidavits submitted to the

28
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 1   court in this case likely detail the roles these target individuals play and
 2
     establish that Mr. Oliva is far less culpable.
 3
     C.     In Addition to Departing Below the Mandatory Minimum Sentence,
 4          the Court Should Exercise its Discretion to Impose a Sentence Well
 5
            Below the Guidelines Range.

 6          If the minimal role reduction is applied, Mr. Olivas’ Guidelines range is
 7
     87 to 108 months imprisonment. Probation has recommended that the Court
 8
     vary downward from the low-end of the otherwise applicable Guidelines range
 9

10   by 48 months (135 months to 87 months). If the Court were to apply the

11   minimal role adjustment, a sentence of 30 months would require only a
12
     slightly greater variance from the low-end of the Guidelines range - 57 months.
13
     More importantly, a sentence of 30 months imprisonment would suffice to
14

15   punish Mr. Olivas’s for his first serious criminal offense.

16          Section 3553(a) requires courts to “impose a sentence sufficient, but not
17
     greater than necessary, to comply with the purposes set forth in paragraph
18
     (2).” 18 U.S.C. § 3553(a); see also United States v. Ranum, 353 F. Supp. 2d 984,
19

20   986 & n.1 (E.D. Wisc. 2005). This has come to be known as “the parsimony

21   provision.” United States v. Jimenez-Beltre, 440 F.3d 514, 525 & n.8 (1st Cir.
22
     2006).
23
            The parsimony provision requires courts to impose the minimum
24

25   sentence necessary to accomplish the purposes enumerated in paragraph (2).

26   Paragraph (2) lists those purposes as:
27

28
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 1          (A)    To reflect the seriousness of the offense, to promote respect for the
 2
            law, and toprovide just punishment for the offense;
            (B)    to afford adequate deterrence to criminal conduct;
 3          (C)    to protect the public from further crimes of the defendant; and
 4
            (D)    to provide the defendant with needed educational or vocational
            training, medical care, or other correctional treatment in the most
 5          effective manner.
 6
     18 U.S.C. § 3553(a)(2); see also United States v. Gall, 552 U.S. 38 (2007)
 7
            The Court must also consider the “need to avoid unwarranted sentence
 8

 9   disparities among defendants ....” 18 U.S.C. § 3553(a)(6). According to the

10   United States Sentencing Commission, “unwarranted disparity is defined as
11
     different treatment of individual offenders who are similar in relevant ways, or
12
     similar treatment of individual offenders who differ in characteristics that are
13

14   relevant to the purposes of sentencing.” U.S. Sent. Comm., Fifteen Years of

15   Guidelines Sentencing: An Assessment of How Well the Federal Criminal Justice
16
     System Is Achieving the Goals of Sentencing Reform, p.113 (2004) (emphasis
17
     added). 2
18

19
            In light of the applicable guidelines in this matter, Mr. Olivas
20
     respectfully requests that the court grant a variance below the applicable
21

22   guideline range and sentence him to 30 months imprisonment This request is

23   based on the fact that it is clear that the Guideline range sentence does not
24
     meet the standards set forth in 18 U.S.C. § 3553.
25

26
     2
27
     http://cdn.ca9.uscourts.gov/datastore/library/2013/02/26/Henderson_15Ye
28   ar.pdf
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 1          U.S. Probation notes that several aspects of Mr. Olivas’ life and the
 2
     circumstances of his offense warrant a variance to a sentence below the
 3
     Guidelines range, including his advanced age, his minor criminal history, the
 4

 5   collateral consequences he will suffer as a result of his conviction, and the

 6   Probation Officer’s belief that Mr. Olivas is unlikely to re-offend. See PSR at ¶
 7
     81, Sentencing Recommendation. Mr. Olivas obviously agrees that these are
 8
     mitigating factors. He also asserts the Court should consider his financial
 9

10   condition and familial obligations at the time he agreed to accept a large sum

11   of money to participate in the charged offense, as well as his culpability relative
12
     to both typical federal drug offenders and his co-defendant, Mr. Rodriguez, as
13
     bases for variance from the Guidelines range.
14

15
            1. Mr. Olivas’s Age Warrants a Variance or Departure.
16
            The sentencing guidelines provide that “[a]ge . . . may be relevant in
17

18   determining whether a departure is warranted, if considerations based on age,

19   individually or in combination with other offender characteristics, are present
20
     to an unusual degree and distinguish the case from the typical cases covered
21
     by the guidelines.” U.S.S.G. § 5H1.1; see also United States v. Tosti, 733 F.3d
22

23   816 (9th Cir. 2013) (“The district court properly considered Tosti's age and

24   physical condition at sentencing and imposed a below-guidelines sentence
25
     based on the totality of all circumstances specific to Tosti’s case.”).
26
            The fact that Mr. Olivas is 63 and committed his first serious drug
27

28   offense at 62 takes Mr. Olivas out of the “typical” drug cases covered by the
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 1   Guidelines. Older prisoners such as Mr. Olivas suffer more health problems
 2
     and are more vulnerable to victimization by other inmates than the typical,
 3
     younger narcotics offender. A sentence of similar duration is therefore more
 4

 5   punitive when imposed on an older defendant. 3

 6          2. Mr. Olivas’s Financial Condition and Family Obligations Justify
               a Variance.
 7

 8          As the Presentence Reports notes, Mr. Olivas was raised in severe

 9   poverty in Mexico, dropped out of school when he was about 14, and has
10
     worked in a variety of low-paying contract jobs since he was a teen. Mr. Olivas
11
     also has had nine children (one deceased). All but one of Mr. Olivas’s children
12

13   are now adults. Though Mr. Olivas has always been poor, he was worked hard

14   to support his children and has maintained close, loving relationships with
15
     each of them. At the time he committed the instant offense, Mr. Olivas was
16
     living with and supporting his wife, four-year-old daughter and adult stepson.
17

18          Mr. Olivas’s poverty and extensive familial obligations do not absolve

19
     him of his mistake. However, they do explain why Mr. Olivas was particularly
20
     vulnerable to the drug trafficker who approached him in a bar and flashed
21
     what was, to Mr. Olivas, a life-changing amount of money to participate in
22

23   what seemed to Mr. Olivas to be a relatively harmless crime. 4
24

25   3
      Given that Mr. Olivas suffers from heart disease, diabetes and high blood
     pressure and is 63, the government’s recommended sentence could easily
26
     comprise a life sentence.
27
     4
      Though the government’s sentencing memorandum urges the Court to
28   consider the seriousness of the offense in light of the current epidemic of opioid
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 1          3. The Collateral Consequences Mr. Olivas Will Suffer Warrant a
               Downward Variance.
 2

 3         The government, Mr. Olivas and Probation anticipate Mr. Olivas will be

 4   removed from the United States after he serves his term of imprisonment and
 5
     will not be able to return. Though Mr. Olivas’s and his wife both hope his
 6
     family will join him in Mexico, Mr. Olivas believes it is likely his wife and
 7

 8   daughter will stay in the United States. Mr. Olivas has lived in the United

 9   States for over 30 years and is unsure where he will live and what work he will
10
     be able to secure as a new arrival in Mexico in his mid-sixties. In addition, Mr.
11
     Olivas’s daughter has never known any home another than Los Angeles. She
12

13   will start school in Los Angeles while Mr. Olivas is in prison.

14         While Mr. Olivas’s wife maintains hope that their family will re-unite in
15
     Mexico and Mr. Olivas is incredibly grateful for his wife’s support, he
16
     understands that circumstances may dictate that his wife and child remain in
17

18   the United States. Mr. Olivas is a devoted to his family and separating from

19
     them would comprise a devastating collateral consequence of his conviction.
20

21

22

23

24
     abuse in the United States (see Doc. #47), Mr. Olivas had no knowledge that
25   the drugs he was transporting included fentanyl, much less any understanding
     that fentanyl is a growing public health concern. Moreover, the correlation
26   between such public policy concerns and sentencing is properly addressed by
27
     the Sentencing Commission, Congress and the Executive, not by the District
     Court imposing more severe punishment a single defendant in order to make
28   an “example” out of him.
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 1          4. A Substantial Variance to a Sentence of 30 Months Would Not
               Result in an “Unwarranted Disparity” in Sentencing.
 2

 3         While Mr. Olivas’s proposed sentence would place him at the low-end of

 4   offender’s who are convicted for distribution of the quantities of narcotics
 5
     involved in this case, such a sentence would not be disproportionate to the
 6
     sentences imposed nationwide on low-level “mules” who are employed by large
 7

 8   drug trafficking organizations. Recognizing the relatively minor culpability of

 9   such defendants, federal courts often vary or depart well below the sentences
10
     applicable to defendants who act as mere couriers.
11
            For example, in United States v. Valdez-Gonzalez, 957 F.2d 643, 650 (9th
12

13   Cir. 1992), the Ninth Circuit affirmed the court’s departure based on the minor

14   “mule” roles the defendants played in the drug trafficking trade. The Valdez-
15
     Gonzalez defendants were Mexican nationals hired to transport drugs across
16
     the border for one or two thousand dollars per trip. The district court
17

18   examined the socioeconomics and the internal politics of the drug trade along

19
     the Mexican border and determined that the defendants were relatively
20
     blameless drug “mules,” whose sentences should be mitigated to reflect their
21
     minimal roles. Id. at 649.
22

23          In United States v. Patillo, 817 F. Supp. 839 (C.D. Cal. 1993), the court
24
     found the “rationale of Valdez-Gonzalez compels this court to depart downward
25
     in this case to take into consideration the fact that defendant is a minor player
26

27
     in the drug trade which the federal laws aim to curb.” Id. at 844. The court

28   noted that the defendant was “arguably he is less sympathetic than the
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 1   Mexican ‘mules’ in Valdez-Gonzalez” because he “had a steady job, is
 2
     educated, and thus possibly was not subject to the same degree of
 3
     socioeconomic pressures as Mexican couriers living in abject poverty on the
 4

 5   border.” Id. at 845. The court noted, however, that that defendant still “lived

 6   in a community where the opportunities to become involved in drug trafficking
 7
     are rampant, and he was subject to tremendous financial responsibilities and
 8
     other pressures that cannot be judged against those faced by a typical border
 9

10   ‘mule.’”

11          Though Mr. Olivas lived in the United States for many years, he is not
12
     culturally assimilated and was subject to the same pressures – financial,
13
     familial, and social – as the victimized drug couriers in Patillo and Valdez-
14

15   Gonzalez. This is undoubtedly why he was approached in a bar patronized

16   primarily by largely poor, unsophisticated people of Sinaloan descent.
17
           F. A Variance Would Result in A Proportionate and Equitable
18         Sentence in Relation to the Co-Defendant.
19
           “[T]he need to avoid unwarranted sentencing disparities among co-
20
     defendants involved in the same criminal activity has long been considered a
21

22   legitimate sentencing concern. United States v. Boshell, 952 F.2d 1101, 1108

23   (9th Cir. 1991 (citing United States v. Capriola, 537 F.2d 319, 320-21 (9th Cir.
24
     1976).
25
            Mr. Olivas concedes he is more culpable than his co-defendant and adult
26

27   stepson, Mr. Rodriguez. Mr. Olivas asked Mr. Rodriguez to participate in the

28
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 1   scheme. However, Olivas did not exercise any special influence on Mr.
 2
     Rodriguez; he merely presented the opportunity to Rodriguez and asked him to
 3
     assist. Contrary to the government’s claim in its Sentencing Memo, Mr. Olivas
 4

 5   did not “put . . . his son-in-law at risk”. Cf. Doc. 41 at p.5. Though Mr. Olivas

 6   should have never allowed Mr. Rodriguez the opportunity to make such a
 7
     horrible mistake, Mr. Rodriguez made an informed decision to participate in
 8
     the transportation scheme. As the government’s sentencing memorandum
 9

10   concerning Mr. Rodriguez notes, Mr. Rodriguez knew that he and Olivas were

11   transporting drugs. See Doc. #41 at p.3.
12
            In its Sentencing Memorandum regarding Mr. Oliva, the government
13
     asks the Court to impose a sentence that includes 900% more incarceration
14

15   than what the Court imposed on Mr. Rodriguez. See Doc. #47. Yet the

16   government does not address why the Court should treat Mr. Oliva so severely
17
     in comparison.
18
            Though Mr. Olivas is more culpable than Mr. Olivas, he is not so far
19

20   more culpable than Mr. Rodriguez in their equally serious offense. Mr. Olivas’s

21   slightly greater responsibility for the crime justifies somewhat more punitive
22
     sentence, not the excessive sentence the government proposes.
23
     //
24

25   //

26
     //
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 1

 2

 3                                       CONCLUSION

 4
            Considering the nature and circumstances of Mr. Olivas’ crimes and the
 5

 6   circumstances of his life, a sentence of 30 months imprisonment is a just and

 7   appropriate sentence in this case.
 8
     Dated: May 3, 2019.                          Respectfully submitted,
 9
                                                   /s/ Gilbert Eisenberg
10

11                                                GILBERT EISENBERG
                                                  Attorney for Defendant
12                                                BERNARDO LEYVA OLIVAS
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